. Case 2:09-cv-00974-LDW-ETB Document 96 Filed 10/06/11 Page 1 of 16 PageID #: 1433
., Case 2:09-cv-00974-LDW-ETB Document 95-2 Filed 10/05/11 Page 17 of 18 PageiD #: 1411




                                               EXHffiiT"3"
                                STIPULATION OF VOLUNTARY DISMISSAL

      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      _________________________________x
      INTELLIGENT DIGITAL SYSTEMS, LLC,                            Case No.: CV 09-974
      RUSS & RUSS PC DEFINED BENEFIT                               (LDW/ETB)
      PENSION PLAN, and JAY EDMOND RUSS,

                                            Plaintiffs,
                        -against-

      VISUAL MANAGEMENT SYSTEMS, INC.,
      JASON GONZALEZ, HOWARD HERMAN,
      ROBERT MOE, MICHAEL RYAN,
      COL. JACK JACOBS, Retl, and MARTY McFEELY,

                              Defendants.
      _________________________________   x
                 WHEREAS the Plaintiffs and Defendants Robert Moe, Michael Ryan, and Col. Jack

      Jacobs, Ret., entered into a Stipulation of Settlement dated September;?(, 201 I,

                 NOW THEREFORE, IT IS STIPULATED AND AGREED by and between the attorneys

     for the Plaintiffs and the attorneys for Defendants Robert Moe, Michael Ryan, and Col. Jack

     Jacobs, Ret., that this action is discontinued against Defendants Robert Moe, Michael Ryan, and
           ...
     Col. Jack Jacobs, Ret. with prejudice and without costs to any party; and it is further

                 STIPULATED AND AGREED that nothing contained in this Stipulation shall constitute

     a withdrawal or discontinuance of Plaintiffs' First Claim for Relief and Second Claim for Relief

     against Defendants Jason Gonzalez and Martin McFeely, subject to the stay of the action against
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     Defendant Jason Gonzalez by virtue of the filing of a Chapter 13 Bankruptcy Petition in the

     United States Bankruptcy Court for the District ofNew Jersey.

     Dated: New York, New York
            September_, 201 I
                                                       MITCHELL, SILBERBERG
                                                       &KNUPP, LLP
                                                       By: _______________________
    IRA LEVINE, ESQ, (IL-1469)                             Lauren J. Wachtler, Esq. (UW-4205)
    Attorney for Plaintiffs                            Attorney for Settling Defendants
    320 Northern Blvd.                                   Moe, Ryan and Jacobs
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    Great Neck, NY 11021                               New York, NY 10017
    (516) 829-7911                                     (212) 509-3900
    ilevinelaw@optonline.net                           Iiw@msk.com

    "SO ORDERED"
            //




  ~ ~eonard D.-Wexler
    Dated: Central Islip, New York
           September :.b_, 2011

         f)~
Case 2:09-cv-00974-LDW-ETB Document 96 Filed 10/06/11 Page 3 of 16 PageID #: 1435
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                              EXHIBIT "A"

           STIPULATION OF SETTLEMENT
                     (PART 1)
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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      --------------------------------------~X
      INTELLIGENT DIGITAL SYSTEMS, LLC, RUSS                             Case No. CV-09-974
      & RUSS PC DEFINED BENEFIT PENSION PLAN,                            (LDWIETB)
      and JAY EDMOND RUSS,
                                              Plaintiffs,
                     -against-                                           STIPULATION OF
                                                                         SETTLEMENT
      VISUAL MANAGEMENT SYSTEMS, INC., JASON
      GONZALEZ, ROBERT MOE, MICHAEL RYAN,
      COL. JACK JACOBS, Ret. and MARTY McFEELY,

                                             Defendants.
      --------------------------------------~X
             WHEREAS, Plaintiffs commenced this action (hereinafter referred to as the "Litigation")

      against Robert Moe, Michael Ryan, and Jack Jacobs (hereinafter referred to as the "Settling

      Defendants"), and others, to wit: Jason Gonzalez and Martin McFeely, in the United States

      District Court for the Eastern District of New York, under Case No.: CV 09-00974; and

             WHEREAS, Plaintiffs served and filed an Amended Complaint in the Litigation which

      asserted a First Claim for Relief alleging that the Settling Defendants and others were liable to

      Plaintiffs based on negligence (the "First Claim for Relief'), and a Second Claim for Relief

      alleging that the Settling Defendants and others were liable to Plaintiffs based on fraudulent

      misconduct (the "Second Claim for Relief'); and

             WHEREAS, the Settling Defendants and others answered the Amended Complaint

      denying the allegations thereto; and

             WHEREAS, an Order was entered in the Litigation that directed the parties to mediate

     this case in accordance with the Local Rules of the United States District Court for the Eastern

     District ofNew York; and
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    Case 2:09-cv-00974-LDW-ETB Document 95-1 Filed 10/05/11 Page 3 of 14 PageiD #: 1383
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                 WHEREAS, the parties engaged Stephen P. Younger, Esq., of Patterson, Belknap Webb

         & Tyler, LLP, as the mediator; and

                 WHEREAS, a mediation session took place from 9 a.m. until 6 p.m. on July 20, 2011 in

         New York City, but the action was not resolved that day, and the mediator remained available to

         the parties; and

                WHEREAS, Plaintiffs and the Settling Defendants engaged in further discussions and

         have reached a settlement; and

                WHEREAS, Plaintiffs and the Settling Defendants claim that the Settling Defendants are

         entitled to indemnification for the settlement provided for in this agreement and the recovery of

         defense costs in accordance with certain Directors and Officers ("D&O") liability insurance

         policies issued by Beazley Insurance Company, Inc. (hereinafter referred to as "Beazley"), under

         Policy No. Vl5IIP07PNDM and Policy No. V150NG08PNDM, but that Beazley has disclaimed

         coverage to the Settling Defendants, its insureds under the above-referenced policies; and

                WHEREAS, Plaintiffs provided Beazley with advance written notice of the mediation,

         invited Beazley to attend or participate in the mediation, and that Beazley, by letter dated July

         12, 2011, chose not to attend or participate;

                WHEREAS, Beazley has been advised of this Stipulation and the negotiation of this

         Stipulation and has chosen not to participate in the negotiation of this agreement or settlement

         negotiation; and

                WHEREAS, Plaintiffs and the Settling Defendants have reached a settlement of the

         Litigation on reasonable grounds based on an arms-length and independent assessment of the

         risks of trial, the costs of trial, and a reasonable assessment of liability and damages; and



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                WHEREAS, Plaintiffs and the Settling Defendants now seek to set forth the terms and

      conditions of the settlement in this Stipulation of Settlement.

                NOW, THEREFORE, it is stipulated and agreed by and between the attorneys for the

      Plaintiffs and the Settling Defendants, as follows:

                1.     Recitals. The above recitals are hereby made part of this Stipulation.

                2.     Settlement Documents. The Settlement Documents consist of this Stipulation of

      Settlement, the Stipulation of Discontinuance as against the Settling Defendants (the "Stipulation

      of Discontinuance") and the Assignment of Rights and Claims as to D & 0 Coverage (the

      "Assignment"; all of the foregoing, the "Settlement Documents").

                3.     Settlement of First Claim for Relief. The First Claim for Relief is settled with the

      Settling Defendants only, pursuant to which the Settling Defendants agree to pay Plaintiffs, as

      follows:

                (a)    Intelligent Digital Systems, LLC, the sum of $1,700,000, together with

      prejudgment interest at the rate of nine (9%) percent per annum in accordance with New York

      Civil Practice Law and Rules ("CPLR") Section 5004, until the obligation to this Plaintiff is fully

      repaid;

                (b)   Jay Edmond Russ, the sum of $280,000.00, together with prejudgment interest at

      the rate of nine (9%) percent per annum in accordance with CPLR 5004, until the obligation to

      this Plaintiff is fully repaid;

                (c)   The Russ & Russ PC Defined Benefit Pension Plan, the sum of $300,000.00,

      together with prejudgment interest at the rate of nine (9%) percent per annum in accordance with

      CPLR 5004, until the obligation to this Plaintiff is fully repaid;



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             4.      Settlement Payment. The Settling Defendants shall pay the Settlement Amount

      (the "Settlement Payment") set forth in ~3, supra, as follows:

             (a)     Contemporaneous with the execution and delivery of the Settlement Documents

      and the "so-ordering'' of this Stipulation by the Court, a certified or bank check or wire, payable

      to IDS, the sum of $70,000; and

             (b)     By assigning, setting over, and transferring, unconditionally and irrevocably, their

      claims against Beazley to IDS, Russ and the Plan, in substantially the form that is set forth in

      Exhibit "1" in satisfaction of any and all obligation of the Settling Defendants to pay the balance

      of the Settlement Amount to Plaintiffs. Plaintiffs are hereby subrogated to the position of the

      Settling Defendants as to the Claims against and any related rights under the insurance

      agreements with Beazley, except with respect to the Settling Defendants' rights to recover

      defense costs under the D&O Coverage.

             5.      Withdrawal of Second Claim for Relief. Each of the Settling Defendants and

      Plaintiffs acknowledge that the Settling Defendants have not committed a fraudulent act or

      omission to the damage or detriment of Plaintiffs, and that the Second Claim for Relief has no

      merit. Plaintiffs hereby withdraw the Second Claim for Relief against the Settling Defendants

      only, with prejudice and without interest, costs or disbursements to any party.

             6.     Parties' Representations.

             (a)    Each of the Settling Defendants acknowledges that he has consented to and

     executed and delivered this Stipulation of his own free will, without coercion or threat, of any

     kind, that each has had the benefit of independent and capable counsel and the recommendations

     of the mediator, and that each has examined, considered, and assessed the plaintiffs' allegations

     of negligence in the Litigation, the alleged defenses, the risks of trial, the costs of trial, the

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     .     '




         uncertainty of the outcome of the Litigation, the reputational risk to them, the inconvenience of a

         trial, the Chapter 11 bankruptcy status of Visual Management System, LLC ("VMS''), the

         Chapter 13 bankruptcy status of Jason Gonzalez, the likelihood that they could not obtain

         indemnification or contribution from any of the other named defendants, and all other matters

         affecting, or which might reasonably affect, each of them, and the benefit to a final, full, fair and

         reasonable resolution of the Litigation, including without limitation, all claims asserted, or which

         could have been asserted in the Litigation.

                 (b)    Plaintiffs and the Settling Defendants acknowledge that there are no promises,

         commitments or agreement other than as set forth in the Settlement Documents.

                7.      Settling Defendants Representations Concerning Beazley. In connection with the

         Assignment, the Settling Defendants each make the following representations of material fact:

                (a)     the Settling Defendants, as directors, are named insureds under certain Directors,

         Officers and Company Liability Insurance policies issued by Beazley: policy number

         V15IIP07PNDM, with the policy period September 28, 2007 to September 28, 2008; and policy

         number VI50NG08PNDM, with policy period September 28, 2008 to September 28, 2009; each

         in the aggregate amount of $5,000,000;

                (b)     Beazley has disclaimed liability and denied coverage for Plaintiffs' claims against

         the Settling Defendants by a certain letter annexed hereto as Exhibit "2";

                (c)     The Settling Defendants, individually and co11ectively, know of no other and/or

      additional disclaimer letters from Beazley;

                (d)     The Settling Defendants, individually and collectively, contest the disclaimer by

      Beazley (such contest and all claims and chose of action and rights to enforce the policies to be



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      indemnified and held harmless from and against the Plaintiffs' claims and the Judgment in the

      Litigation, but not any claim by Settling Defendants for defense costs, hereafter .. Claims");

             (e)     The Settling Defendants, individually and collectively, own, hold and possess the

      Claims against Beazley, no portion of which has been assigned, set over, transferred, or

      hypothecated by the Settling Defendants; and

             (f)     The Settling Defendants, individually and collectively have not released, settled

      or compromised his or their Claims to any extent.

             8.      Non-Enforcement Against Assets/Income.           In consideration of the Settling

      Defendants' full and timely performance hereunder, and the execution, delivery and performance

      of the Settlement Documents, Plaintiffs agree to unconditionally forbear collection of the unpaid

      portion of the Settlement Amount from the personal assets and income of the Settling

      Defendants, and their respective heirs and/or any entities in which any of the Settling Defendants

      have any interest now and in the future. Nothing contained in this Stipulation shall constitute a

      waiver or release of Plaintiffs' or the Settling Defendants' right to assert any claims, or rights of

      action against Beazley.    Nothing contained in this paragraph shall constitute a waiver or

      modification of Plaintiffs' enforcement rights, if any, against the assets of VMS.

             9.      Cooperation. Settling Defendants shall provide full but reasonable cooperation,

      without charge to Plaintiffs in effectuating the Settlement Documents, and in the investigation,

      prosecution or resolution of Claims or rights of action against Beazley.

             I 0.    Partial Discontinuance. Contemporaneous with the execution of this Stipulation,

      Plaintiffs and the Settling Defendants shall execute the Stipulation of Discontinuance with

     prejudice in substantially the form set forth in Exhibit "3". The Litigation is terminated as to the



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      Settling Defendants, only. The Litigation is not discontinued as to Martin McFeely or Jason

      Gonzalez.

              11.    Binding Affect. This Stipulation and the Settlement Documents are binding upon

      the parties, their heirs, fiduciaries, agents, and successors. This Stipulation is not assignable.

              12.    No Third Party Beneficiaries. Nothing herein shall vest any right or interest in

      any third party. No third party shall have any right to enforce or receive any consideration by

      virtue of this Stipulation. Nothing in this Stipulation shall operate to reduce or eliminate any

      liability of any third party. All claims in the Litigation against the Settling Defendants shall be

      discontinued, with prejudice, upon payment of $70,000 as provided in paragraph 4(a) of this

      Stipulation and Plaintiffs' shall execute and file a Stipulation of Voluntary Dismissal with

      Prejudice of Plaintiffs' claims against Settling Defendants in the form annexed hereto.

              13.    Applicable Law. This Stipulation shall be governed and construed in accordance

      with the laws of the State of New York, without reference to principles of conflicts of laws

      thereof. If at any time after the date of execution of this Stipulation, any provision of this

      Stipulation shall be held to be illegal, void or unenforceable by a court of competent jurisdiction,

      such provision shall be of no force and effect. However, the illegality or unenforceability of

      such provisions shall have no effect upon, and shaH not impair the enforceability of, any other

      provision of this Stipulation, or the effectiveness of the Stipulation of Voluntary Dismissal with

      Prejudice in the form annexed hereto.

             14.     Choice of Venue and Consent to Jurisdiction. The parties consent to the exclusive

      jurisdiction and venue of the United States District Court for the Eastern District of New York

      for any action or proceeding in any dispute arising under this Stipulation or the Settlement



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       Documents.     Notwithstanding anything to the contrary, this Court shall have continuing

      jurisdiction to enforce the terms of this Stipulation.

               15.    Modifications. Any changes hereto shall be made only in writing and shall only

       become effective and enforceable upon a writing being signed by the parties.

               16.    Entire Stipulation. This Stipulation is the sole agreement between the parties on

       the subject matter hereof, and supersedes all prior understandings, agreements and

       communications between the parties, whether oral or written. Each party has entered into this

       Stipulation freely and voluntarily, and without coercion, and after investigation. Each party has

       been represented by independent counsel of their own choosing in connection with the

       negotiations and execution of this Stipulation and the Settlement Documents.

               17.   Authority.     Plaintiffs and the Settling Defendants represent that they are

       authorized, and have the power, to enter into this Stipulation, and each party agrees to be bound

      by this Stipulation.

               18.   Non-Disparagement.         IDS, Russ, the Plan and the Settling Defendants

      acknowledge that each of them has an established reputation within the industries or professions

      in which they work and/or operate. Accordingly, each agrees not to make disparaging remarks

      to third-parties regarding the other. Plaintiffs and the Settiing Defendants agree that the

      following statement may be issued by any of them: "This action has been settled to the mutual

      satisfaction of the Plaintiffs and defendants Ryan, Moe and Jacobs, without any admission of

      liability."

              19.    No Other Claims. Plaintiffs and the Settling Defendants acknowledge that they

      have no other or additional claims against each other and that this settlement fully resolves all



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       claims between them. The only obligations which survive are the obligations set forth in this

       Stipulation and in the Settlement Documents.

              20.     Counterparts. This Stipulation may be signed in counterparts. Facsimile copies

       of signatures shall be deemed to be originals.

       Dated: New Yor~~ York
              September 2011
                                                            MITCHELL, SILBERBERG
                                                             &KNUPP,LLP


                                                            By: ________________________
                INE, ESQ, (IL-1469)                            Lauren J. Wachtler, Esq. (LJW-4205)
      Attorney for Plaintiffs                               Attorney for Settling Defendants
      320 Northern Blvd.                                      Moe, Ryan and Jacobs
      Suite 14                                              12 East 49th Street
      Great Neck, NY 11 021                                 New York, NY 10017
      (516) 829-7911                                        (212) 509-3900
      ilevinelaw(i.lloptonline.net                          Iiw@msk.com


      PLAINTIFFS:

      INTELLIGENT DIGITAL SYSTEMS, LLC                      THE RUSS & RUSS PC D FINED
                                                            PENSION PLAN




      SETTLING DEFENDANTS:



      ROBERT MOE                                    JACK JACOBS


      MICHAEL RYAN

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        claims between them. The only obligations which survive are the obligations set forth in this

        Stipulation and in the Settlement Documents.

               20.     Counterparts. This Stipulation may be signed in counterparts. Facsimile copies

        of signatures shall be deemed to be originals.

        Dated: New York, ~e)V York
               Septembera{ir2011
                                                              MITCHELL, SILBERBERG
                                                                &KNUPP,
                                                                     '}
                                                                        LLP



             LE     E, ESQ, (IL-1469)                          .          J. Wac er, Esq. (LJW-4205)
        Attorney fur Plaintiffs                               Attorney for Se     g Defendants
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        (516) 829-7911                                        (212) 509-3900
        ilevjnelaw@o.ptonline.net                             ljw@msk.com


        PLAINTIFFS:

        INTELLIGENT DIGITAL SYSTEMS, LLC                      THE RUSS & RUSS PC DEFiNED
                                                              PENSION PLAN


        By:~~--,-------­                                      By: __~--·-----------
         Jay Edmond Russ, Member                                 Jay Edmond Russ, Administrator


        JAY EDMOND RUSS, individually


        SETTLING DEFENDANTS:



                                                     ------~~-------------
                                                     JACKJACOBS




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      Case 2:09-cv-00974-LDW-ETB Document 95-1 Filed 10/05/11 Page 12 of 14 PageiD #: 1392
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              claims between them. The only obligations which survive are the obligations set !orth in this

              Stipulation and in the Settlement Documents.

                      20.   Countemarts. This Stipulation may be signed in counterparts. Facsimile copies

              of signatures sha11 be deemed to be originals.

              Dated: New York, New York
                     September_, 2011
                                                                    MITCHELL, SILBERBERG
                                                                     &KNUPP,LLP

                                                                    By: _______________________
             IRA LEVINE, BSQ, (IL-1469)                                Lauren J. Wachtler, Esq. (LJW-4205)
             Attorney for Plaintiffs                                Attorney for Settling Defendants
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             ilevineJaw@oRton lipe,nct                              ljw@msk.com


             PLAINTIFFS:

             INTELUGENT DIGITAL SYSTEMS, LLC                        THE RUSS & RUSS l 1C DEFINED
                                                                    PENSION PLAN


             By:
                   ~~--~~~~~----------                              By: __=-----------------
                   Jay Edmond Russ, Member                             Jay Edmond Russ~ Administrator


              JAY EDMOND RUSS, individually




                                                           JACK JACOBS


             MICHAEL RYAN


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     Case 2:09-cv-00974-LDW-ETB Document 95-1 Filed 10/05/11 Page 13 of 14 PageiD #: 1393
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                   Stipulation and mtho Settlettl4mt Documents.
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                   ohiaf1atures sbatl be deemed to be 0ri3inaJs.
               DaWd: New York, New York
                     September__, 20t 1
                                                                         MITCHELL. SJLSBRSERO
                                                                           & KNOt'P. LtP

                                                                         By: _ _ _ _ _ _ _ _ __
               IRA LBVINE, ESQ. (Jt-1469)                                   Lauren J. WaontJer. Esq. (LJW·4ZOS)
               Attomey fbr Plaintiffs                                    Attorney fur Settling Defendants
               320 Northern 8lvd.                                          Moe, Ryan and Jaoobs
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               (516) 829-7911                                            (2l2) 509-3900
               ile'ineJaw@.9ntQnlins·na                                  Uw@m$!s.sgm

               PLAIN'l'DI'J!!'S:
               IN'll!LUGEN'l' .OIOITAL SYSTEMS, t.LC                   Tim RUSS & RUSS PC DEFINED
                                                                       PENSION PLAN

                                                                         ~:   _________________
                                                                              Jay Edmond Russ, Administrator

               lAY EDMOND RUSS~ lncfi\.ictua.Uy




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     "SO ORDERED"



   /Ron. Leonard D.    exler

     Dated: Central Islip, New York
            October£.. 2011




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